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         Exhibit 4
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                                                                                                   James M. Ficaro, Esq.
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                                                August 26, 2020
  VIA E-MAIL
  Jeffrey P. Mueller
  DAY PITNEY LLP
  101 Centerpoint Rd., Suite 105
  Hartford, CT 06103-1212
  jmueller@daypitney.com


          RE:     Kooi v. McMahon et al., Case No. 3:20-cv-00743-VAB (D. Conn.)

 Mr. Mueller:

       I write in response to your August 17, 2020 letter asking Daniel Kooi, the plaintiff in the above
 referenced action                , to produce documents demonstrating his continuous ownership of World
 Wrestling Entertainment,                                    during the relevant period detailed in the Action.
 While it is true that a derivative plaintiff must own stock in the nominal defendant corporation and
 continuous own that security throughout the duration of the litigation as Mr. Kooi has alleged and done
 I am aware of no Delaware or Connecticut authority that requires shareholder derivative plaintiffs to
 unilaterally engage in discovery prior to the filing of a motion to dismiss. Mr. Kooi will produce documents
 in response to properly served requests for production when discovery commences.

      If, however, WWE believes the time for discovery to begin is now, please provide a draft
 confidentiality agreement for                    and formal requests for production which plaintiff will
 respond to in good faith. Accordingly, Mr. Kooi will also commence service of discovery requests.


                                         Sincerely,


                                         James M. Ficaro




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